Case 1:05-cr-10036-.]DT Document 11 Filed 05/31/05 Page 1 of 2 PagelD 8
lN THE UN|TED STATES DlSTRlCT COURT

 

FOR THE wEsTERN DlsTRicT oF TENNEssEE F'{'ED B"`s§€`o.c.
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cLEni<, us Dl§BrOc[:"rO
Plaimir-r, W' D' OF TN JACKSON

v. Cr. NO. 05»10036-T)'An
FEL|C!ANNA T. BROWN.

Defendant.

 

ORDER ON ARRA|GNMENT

 

This cause came to be heard on May 24, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, who is retained:

NAN|E: Danny E||is
ADDRESS:

TELEPHONE:

The defendant, through counsel, waived formal arraignment and entered a plea of not
guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his/her present bond.
\/ The defendantl (not having made bond) (being a state prisoner) (being a federal

prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the custody of the
U.S. |V|arshal.

A

s. Ti-'ioiviAs ANDERSON
United States lVlagistrate Judge

Charges:
Assistant U.S. Attorney assigned to case:

Rule 32 was: waived l/ not waived.

This document entered on the docket sheet 'n compliance
with Ruie ss and/or 32(b) FRch on 22 z/ZM @

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 1:05-CR-10036 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

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Honorable S. Anderson
US DlSTRlCT COURT

